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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF INDIANA
                            AT SOUTH BEND

LESLIE SCHAFER
     AND                                  CASE NO.
STEPHEN SCHAFER
3220 CROWNE POINTE
STOW, OHIO 44224

      PLAINTIFFS
                                          COMPLAINT AND JURY DEMAND
      - VS. -

JAYCO, INC.
903 S. MAIN ST.
MIDDLEBURY, INDIANA 46540

      DEFENDANT


                       PRELIMINARY STATEMENT

1.    This case involves claims asserted under the Ohio and/or Indiana

      Uniform Commercial Code, the Magnuson Moss Warranty Act, and

      the Ohio and/or Indiana Deceptive Consumer Sales Act, IC 24-5 et

      seq.

2.    Jurisdiction exists with this court because a federal claim exists in

      which there is more than $50,000 in controversy under 15 USC



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      2301 et seq, invoking 28 USC 1331, and/or the amount in

      controversy is more than $75,000 and is between citizens of

      different states, invoking 28 USC 1332.

3.    The vehicle which is the subject of this dispute was acquired by

      Plaintiffs in Ohio and was defective when acquired; ineffective

      repair attempts were made upon the subject vehicle by defendant’s

      authorized representative dealership in Ohio; the place where the

      relationship of the parties arose is Ohio because the warranty

      obligations of defendant were received by Plaintiffs with the

      purchase of the subject RV in Ohio and defendant directly

      interacted with Plaintiffs in Ohio.

                   IDENTIFICATION OF PARTIES

4.    Leslie and Stephen Schafer are natural persons domiciled and

      residing in Ohio, citizens of Ohio, and consumers and buyers

      within the meaning of applicable laws.

5.    Defendant is a corporation authorized to do business and doing

      business in Indiana and Ohio and whose principal place of

      business is in Indiana, is a citizen of Indiana, and is a warrantor of

      a recreational vehicle that Plaintiffs acquired and a supplier and a

      merchant.



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     FIRST CLAIM: BREACH OF WARRANTY AND/OR CONTRACT

6.     This case involves a defective 2018 Jayco Melbourne Class C

       recreational vehicle that Defendant warranted and contracted to

       warrant but which it was not able to repair within a reasonable

       number of chances or a reasonable amount of time and whose

       warranty and/or contract defendant breached.

7.     The allegations of all other paragraphs and claims in this pleading

       are incorporated as if fully rewritten herein.

8.     This claim is for breach of warranty and/or contract by Defendant1

       in Ohio and/or Indiana.

9.     As a result of the above, and the allegations below, inter alia,

       Defendant breached its warranty and/or contract to the injury of

       Plaintiffs and that was abusive and/or unfair and/or deceptive

       and/or unconscionable to Plaintiffs.

10.    At all times relevant, Camping World RV Sales Akron was a

       supplier and merchant and an authorized representative and agent

       of Defendant. Camping World RV Sales Akron was authorized by

       Defendant to act for it in all respects related to warranty repair

       work performed or attempted on the subject vehicle. Plaintiffs



       1
           Hereafter referred to as the Defendant.

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      acquired the subject RV from Camping World RV Sales Akron, and

      Camping World RV Sales Akron made repair attempts on the RV

      under Defendant’s warranty and on Defendant’s behalf.

11.   On or about August 23, 2018 the parties entered into a consumer

      transaction, in that Plaintiffs agreed to acquire from the Dealer, the

      Dealer agreed to sell to Plaintiffs, under the terms of a personal

      loan agreement, and Defendant contracted and/or agreed to

      warrant the vehicle to be free from defects and/or that it would

      repair and/or replace any defect which it contracted and/or

      warranted against, the goods being a certain 2018 Jayco

      Melbourne Class C recreational vehicle believed to bear VIN

      #WDAPF4CCXG9700918, and whose total cost was about

      $148,430.40.

12.   Plaintiffs acquired the vehicle in reliance on the existence of a

      written warranty and/or contract from Defendant and on adver-

      tising representations and/or warranties of Defendant.

13.   The purpose of Defendant’s warranty was to get the RV fixed within

      a reasonable amount of time and within a reasonable number of

      attempts if a defect arose. A secondary purpose of the Defendant’s

      warranty was to give Plaintiffs confidence in the reliability and



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      quality of the RV. Another secondary purpose of the Defendant’s

      warranty was to give Plaintiffs confidence in the Defendant as a

      company.

14.   After acquiring the vehicle, Plaintiffs discovered that it did not

      conform to the representations of Defendant inasmuch as it

      developed continuing malfunctions, defects and problems and that

      was abusive and/or unfair and/or deceptive and/or

      unconscionable to Plaintiffs.

15.   The substantial and other defects in the RV included, but are not

      limited to: Slide Out Doesn’t Seal Properly, Bubbles in Wall

      Covering, Bunk Window Misshapen and Missing Screen, Mold in

      Bunk and on Mattress at Water Leak, Water Leaks, Excess Caulk

      on Coach, Entry Steps Warped, Shower Head Holder Loose,

      Blemish On Bathroom Wall, Check Gas Light On, Slow Rise

      Bedroom Shade Pulling Away, Blemish on Ceiling above the Bunk

      and on Drivers Side Privacy Curtain Rail, Left Side Batten Strip

      Coming Away, Access Door Under Bed Misaligned, Headboard

      Crooked, Bunk Cushion Stained, Bathroom Door Warped, Casing

      Around Bathroom Fan Over Tightened, Bedroom Drawer Opens in

      Transit and Gouged, Garmin Shutting Itself Down, AUX Input



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      Appears to be Microphone, USB Input is Instead Charging Output,

      Garmin Software Needs Updated, DVR Door Won’t Open, CATV

      Inoperative, Antenna Inoperative, Gray & Black Tank Labels

      Reversed, Cab Privacy Curtain Velcro Missing, GPS Antenna

      Crooked, Dinette Blind Has Bent Folds, Multiple Sealants Used on

      Roof, Bottom Corner Pulling Away from Unit, Microphone Screen

      Bent, Shower Surround Loose, Slide Out Corner Needs Caulked,

      Screw Poking Out of Wall Near Mirror, Hole in Kitchen Window

      Screen, Malfunctioning and Excessively Loud Generator, among

      other things.

16.   Because of the contract and/or warranty-covered defects, Plaintiffs

      notified Defendant and/or one of its authorized servicing dealers of

      the numerous defects and on various dates delivered the motor

      coach into the possession of Defendant and/or one of its authorized

      servicing dealers at their cost and/or expense beginning on the

      date of purchase.

17.   The purpose of Defendant’s warranty was to get the RV fixed within

      a reasonable amount of time and within a reasonable number of

      attempts if a defect arose. A secondary purpose of the Defendant’s

      warranty was to give Plaintiffs confidence in the reliability and



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      quality of the RV. Another secondary purpose of the Defendant’s

      warranty was to give Plaintiffs confidence in the Defendant as a

      company.

18.   After being in the repair shop about 2 time and being out of service

      a total of about 107 days total and accumulating about 35 defects

      since its acquisition, Plaintiffs notified Defendant that they wanted

      their money back but Defendant would not do that.

19.   Prior to filing this case, Plaintiffs provided notice to Defendant

      about its abusive and/or unfair and/or deceptive and/or

      unconscionable acts, practices and failures to live up to its

      warranty and/or contract.

20.   Instead of performing as represented, Defendant did not repair all

      defects in the vehicle once and for all time.

21.   As a result Defendant breached its express and/or implied

      warranties and/or contract and committed one or more abusive

      and/or unfair and/or deceptive and/or unconscionable acts and/or

      practices which are uncured.

22.   As a result, Defendant’s warranty and/or contract failed of its

      essential purpose and any limitations contained within the

      warranty and/or contract are null and void and Plaintiffs are



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      entitled to all applicable legal and equitable remedies in law.

23.   In addition, any limitations contained within the warranty and/or

      contract are null and void and without consideration and Plaintiffs

      are entitled to all applicable legal and equitable remedies in law.

24.   Through its advertising and otherwise, Defendant represented that

      the recreational vehicles it built were fit for the purpose for which

      they were designed, that they are safe and suitable vehicles for

      their intended designed use, reliably operable for private

      transportation and Plaintiffs acquired the vehicle in reliance upon

      the belief that Defendant possessed a high degree of manufacturing

      skill and judgment.

25.   Through its advertising and otherwise, Defendant represented that

      the recreational vehicles which it manufactured were of

      merchantable quality, fit and in proper condition for the ordinary

      use for which such vehicles are designed and used, and Plaintiffs

      relied on such, but the vehicle involved in this case was not,

      however, of merchantable quality and that was abusive and/or

      unfair and/or deceptive and/or unconscionable to Plaintiffs.

26.   The malfunctions and defects in the vehicle severely and

      substantially impaired its use and/or safety and/or value to



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      Plaintiffs and that was abusive and/or unfair and/or deceptive

      and/or unconscionable to Plaintiffs.

27.   Defendant’s failure to timely fix all of the vehicle’s defects has

      caused Plaintiffs to lose confidence in the reliability of the subject

      motor vehicle and in the ability of Defendant to repair the vehicle’s

      defects and that was abusive and/or unfair and/or deceptive

      and/or unconscionable to Plaintiffs.

28.   Plaintiffs provided Defendant and/or one or more of its authorized

      dealers with a reasonable number of opportunities to repair the

      vehicle but they have each neglected, failed, refused or otherwise

      been unable to do so within a reasonable amount of time or a

      reasonable number of attempts.

29.   As a result of the above facts, Defendant breached its warranties

      and/or contract and/or representations with respect to the vehicle.

30.   One or more of the defects and malfunctions in the vehicle were

      covered under the terms of Defendant’s warranties and/or

      contract, and defendant failed to repair the vehicle, thereby

      diminishing the use and/or safety and/or value of the vehicle and

      that was abusive and/or unfair and/or deceptive and/or

      unconscionable to Plaintiffs.



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31.   Defendant and/or one or more of its authorized dealers had notices

      of the breaches of the warranty and/or contract and the defective

      condition of the subject motor vehicle within a reasonable time.

32.   Plaintiffs suffered and shall continue to suffer actual, incidental

      and consequential damages as a direct and proximate result of the

      inability or other failure of Defendant's authorized representatives

      to repair or replace the vehicle or refund its price and that was

      abusive and/or unfair and/or deceptive and/or unconscionable to

      Plaintiffs.

       SECOND CLAIM: MAGNUSON MOSS WARRANTY ACT

33.   The allegations of all other paragraphs and claims in this pleading

      are incorporated as if fully rewritten herein.

34.   This claim is for breach of express and/or implied warranties

      and/or contract of warranties and/or defendant’s violation of its

      obligations under the Magnuson-Moss Warranty Act, 15 U.S.C.

      2301, et seq, including but not limited to its obligations to comply

      with its warranties and/or contract and/or to make its warranty

      term disclosures and its actions in full compliance with all

      provisions of the Warranty Act and its applicable regulations.

35.   As a result of the above, among other things, Defendant has



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      breached its obligations under the Warranty Act and/or its

      applicable disclosure and/or other regulations and that was

      abusive and/or unfair and/or deceptive and/or unconscionable to

      Plaintiffs.

36.   As a result of the above, among other things, Defendant breached

      its obligations to make its warranty term disclosures and its actions

      in full compliance with all provisions of the Warranty Act and the

      applicable Code of Federal Regulations.

37.   As a result of the above, inter alia, Defendant is in violation of the

      Warranty Act.

                      THIRD CLAIM: UDAP LAW(S)

38.   The allegations of all other paragraphs and claims in this pleading

      are incorporated as if fully rewritten herein.

39.   This claim is for violation of applicable state Udap laws, being the

      Indiana Deceptive Consumer Sales Act, IC 24-5 et seq and/or the

      Ohio Consumer Sales Practices Act, RC 1345.01 et seq, by

      Defendant.

40.   As a result of the above, among other things, one or more abusive

      and/or unfair and/or deceptive and/or unconscionable acts,

      omissions, or practices were committed by Defendant and remain



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      uncured, including but not limited to:

          1. Representing that the subject of a consumer transaction has

   performance, characteristics, accessories, uses, or benefits it does not

   have which the supplier knows or should reasonably know it does not

   have

          2. Representing that the subject of a consumer transaction is of

   a particular standard or quality when it is not and the supplier knows

   or should reasonably know that it is not

          3. Representing that the transaction involves or does not involve

   a warranty and/or contract, a disclaimer of warranties, or other

   rights, remedies or obligations when the representation was false and

   the supplier knows or should reasonably know that the representation

   is false

          4. Representing that the supplier is able to deliver or complete

   the subject of the consumer transaction within a stated period of time

   when the supplier knows or should reasonable know the supplier

   could not

          5. Breach of express and/or implied warranties and/or contract

          6. Violation of the Magnuson Moss Warranty Act and/or its

   applicable regulations



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         7. Violation of other consumer protection statute(s)

         8. Failing to remedy defects in a warranted vehicle within a

   reasonable number of attempts

         9. Failing to remedy defects in a warranted vehicle within a

   reasonable amount of time

         10. Failing to honor a request to take the vehicle back and/or

   rescind and/or cancel the sales and warranty and/or contract

   transaction

         11. Failing to honor a request to take the vehicle back and

   rescind and/or cancel the sales and warranty and/or contract

   transaction within a reasonable amount of time

         12. Including one or more unconscionable and/or unreasonable

   terms in the written warranty and/or contract document(s)

         13. Stalling and/or delaying the performance of a legal obligation

         14. Representing that defects have been repaired when in fact

   they were not

         15. Representing the supplier is able to deliver or complete the

   subject of a consumer transaction within a stated period of time when

   the supplier knows or reasonably should know the supplier could not

         16. Soliciting a person to enter into a contract or agreement that



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   contains terms that are oppressively one sided or harsh and/or in

   which the terms unduly limit the person’s remedies, and/or in which

   the price is unduly excessive, and there was unequal bargaining

   power that let the person to enter into the contract or agreement

   unwillingly or without knowledge of the terms of the contract or

   agreement

          17. Refusing to recognize the rights of buyers under the Uniform

   Commercial Code when the only remedy afforded by its limited

   warranty failed of its purpose

          18. Knowingly distributing goods for retail sale to consumers

   that it knows or should know are defective without disclosing such

          19. Knowingly distributing goods for retail sale to consumers

   that it knows or should know are likely to be defective without

   disclosing such

          20. Knowingly distributing goods for retail sale to consumers

   that it knows or should know will become defective after receipt by the

   retail seller and before purchase by the retail buyer without disclosing

   such

          21. Knowingly distributing goods for retail sale to consumers

   that it knows or should know are likely to become defective after



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   receipt by the retail seller and before purchase by the retail buyer

   without disclosing such

         22. Knowingly distributing goods for retail sale to consumers

   that it knows or should know will become defective during the first

   year after purchase by the retail buyer without disclosing such

         23. Knowingly distributing goods for retail sale to consumers

   that it knows or should know are likely to become defective during the

   first year after purchase by the retail buyer without disclosing such

         24. Failing to make replacement of warranted defective parts

   available to a consumer within a reasonable time

         25. Failing to make a refund of the cost of warranted goods

   when it has failed to make replacement of warranted defective parts

   available to a consumer within a reasonable time.

41.   As a result of the above, inter alia, Defendant committed one or

      more abusive and/or unfair and/or deceptive and/or

      unconscionable acts, omissions, or practices in violation of

      applicable state Udap law(s), before, during or after a consumer

      transaction between one or both Plaintiffs and a supplier in relation

      to the 2018 Melbourne Class C.

      WHEREFORE, judgment is demanded against Defendant as



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deemed proper and lawful by the Court, cumulatively and/or alterna-

tively as follows:

                           PRAYER FOR RELIEF

      1. above on any appropriate claim as proven by the evidence and

allowed by law, rescission and/or revocation of acceptance plus all

damages On the first claim, statutory and other damages, remedies, and

relief as deemed proper and lawful by the Court, for more than $50,000

and in such amount as may be proven at trial;

      2. On the second claim, statutory and other damages, remedies,

and relief as deemed proper and lawful by the Court, for each and every

violation that may be proven at trial;

      3. On the third claim, damages and/or statutory damages, and

other damages, remedies, and relief as deemed proper and lawful by the

Court, for each and every violation that may be proven at trial;



                     ALTERNATIVE PRAYER FOR RELIEF

      Or, in the alternative to the damages set forth in the prayer and/or

statutory remedies and relief as deemed proper, equitable and lawful by

the Court, for each and every violation which may be proven at trial;

      Plus on each and every claim, expenses of suit and litigation,



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interest from the date of acquiring the RV, and an Order finding Plaintiffs

to have rescinded and/or revoked acceptance, reasonable attorney fees,

plus all costs, and any and all other legal and equitable relief deemed

necessary and just.

      Plaintiffs demand trial by jury on all claims and issues.



                                 /s/ Elizabeth Ahern Wells__________
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